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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

CARY LEE PETERSON,
Plaintiff,
V. : Civil Action No. 19-3662 (UNA)
FOSTER GARVEY P.C., ef al., 7

Defendants.

ORDER

 

The Court hereby advises the plaintiff that federal law, effective April 9, 2006,
requires a plaintiff in a civil action to pay a filing fee of $350.00. In order for the Court to
consider the plaintiff's application to proceed without prepayment of fees, the plaintiff must
provide the Court with a certified copy of his trust fund account statement (or institutional
equivalent), including the supporting ledger sheets, for the six-month period immediately
preceding the filing of this complaint, obtained from the appropriate official of each prison
at which plaintiff is or was confined. 28 U.S.C. § 1915(a)(2). After submission of the trust
fund information, the Court will determine the plaintiff's ability to pay the entire amount in
one payment. If the Court determines that the plaintiff does not have sufficient funds to
pay the filing fee at one time, the Court will assess an initial partial filing fee. After payment
of the initial partial filing fee, monthly payments of 20 percent of the deposits made to the
plaintiff's trust fund account during the preceding month will be forwarded to the clerk of
the Court each time the account balance exceeds $10.00. Payments will continue until

the filing fee is paid.
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Accordingly, it is hereby

ORDERED that, within thirty (30) days of this Order, the plaintiff shall provide the
information described above. Failure to comply with this Order will result in dismissal of
this action.

SO ORDERED.

DATE: December j"-} __, 2019 VAIL Hoa

ANDOLFH D. MOSS '
nited States District Judge
